Case:18-05288-EAG11 Doc#:246 Filed:10/10/19 Entered:10/10/19 17:35:21                        Desc: Main
                            Document Page 1 of 3




                             UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO


                                                        CASE NO. 18-05288-EAG
 IN THE MATTER OF:                                      CHAPTER 11

 SKYTEC, INC.,

 Debtor

      MOTION IN COMPLIANCE WITH ORDER REGARDING EFFORTS TO RESOLVE
                           CONTESTED MATTER

 TO THE HONORABLE COURT:

        COME NOW Debtor, Skytec, Inc. (hereinafter “Skytec”) and Creditor Logistic Systems, Inc.

 (hereinafter “LogiSYS”) through their respective counsel and respectfully STATE and PRAY as

 follows:

 1.         On August 29, 2019, this Honorable Court held a hearing on LogiSYS’s Motion to Appoint

 a Ch. 11 Trustee upon Debtor.

 2.    During that session, the parties informed the Court they wished to negotiate a possible solution

 to the contested matter and the Court issued an order at Dkt. # 238 ordering the parties to file a joint

 motion on or before September 12, 2019, either stipulating to the appointment of an examiner and

 delineating any expanded powers he or she may have, if any, or to inform the Court that no agreement

 has been reached.

 3.    The parties hereby inform that, after exchanging proposals for the appointment of a trustee with

 limited powers or for an examiner with expanded powers, and discussing those proposals, they have

 not reached an agreement.
Case:18-05288-EAG11 Doc#:246 Filed:10/10/19 Entered:10/10/19 17:35:21                    Desc: Main
                            Document Page 2 of 3


 4.     This hearing currently scheduled to take place on October 21-22, 2019, therefore, will occur

 as scheduled.

        WHEREFORE, it is respectfully requested that this Court grant the relief requested in this

 motion and any further remedy that it deems appropriate.

        CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically

 filed the foregoing with the Clerk of the Court using the CM/ECF systems, which will send

 notification of such filing to the Office of the United States Trustee, and all participants of CM/

 EMF.

        In San Juan, Puerto Rico, this 10th day of October, 2019.

                                                   s/Alexis Fuentes-Hernández, Esq.
                                                   Alexis Fuentes-Hernández, Esq.
                                                   USDC-PR 217201
                                                   FUENTES LAW OFFICES, LLC
                                                   P.O. Box 9022726
                                                   San Juan, PR 00902-2726
                                                   Tel. (787) 722-5215, 5216
                                                   E-Mail: alex@fuentes-law.com

                                                  s/ Carlos A. Rodriguez-Vidal
                                                  Carlos A. Rodríguez-Vidal
                                                  USDC PR 201213
                                                  s/ Solymar Castillo Morales
                                                  Solymar Castillo Morales
                                                  USDC PR 218310
                                                  Counsel for Creditor LogiSYS Systems, Inc.
                                                  GOLDMAN ANTONETTI & CORDOVA, LLC
                                                  Post Office Box 70364
                                                  San Juan, PR 00936-8364
                                                  Telephone #: (787) 759-4117/ Fax #: (787) 767-
                                                  9333
                                                  Email: crodriguez-vidal@gaclaw.com
                                                          scastillo@gaclaw.com

                                                  /s/ Andrew Morton________________
                                                  Andrew Morton
                                                  Washington State Bar No. 49467
                                                  Pro Hac Vice Counsel for Creditor Logistic
                                                  Systems, Inc.
Case:18-05288-EAG11 Doc#:246 Filed:10/10/19 Entered:10/10/19 17:35:21        Desc: Main
                            Document Page 3 of 3



                                        s/ Bryan T. Glover
                                        Bryan T. Glover
                                        Washington State Bar # 51045
                                        Pro Hac Vice Counsel for Creditor Logistic
                                        Systems, Inc.
